Case 19-30757        Doc 38-1 Filed 01/28/20 Entered 01/28/20 14:56:58               Desc
                         Pre-Filing Conference Page 1 of 2



                       UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MASSACHUSETTS

In re:                                               Chapter 13
                                                     Case Number 19-30757-EDK
Sarah A. Gagne                                       Honorable Elizabeth D. Katz

      Debtor
____________________________________/

           CERTIFICATION REGARDING PRE-FILING CONFERENCE
                          PER MLBR 13-16-1(A)

I, Patrick J. Martin hereby certify that:

1.      I am the attorney for Select Portfolio Servicing, Inc., a secured mortgage lien
holder of the Debtor regarding the real property located at: 2140 Palmer Road, Three
Rivers, MA 01080.

2.       No pre-filing conference was held.

            a. On January 7, 2020, a date at least seven (7) days prior to the filing of the
               instant Motion for Relief, I caused to be sent a Request for Pre-Filing
               Conference to Louis S. Robin, the attorney for Debtor (Sarah A. Gagne) as
               follows:

                    i. in writing, by letter sent First Class Mail, postage prepaid, to the
                       address of record of Debtor’s Counsel at:

                       Louis S. Robin, Esquire
                       Law Offices of Louis S. Robin
                       1200 Converse Street
                       Longmeadow, MA 01106;

                   ii. in writing, via e-mail to Debtor’s Counsel of record at:
                       louis.robin.bankruptcyECF@gmail.com;

            b. By 5:00 PM on January 27, 2020, no response was made to the Request
               and, therefore, no Conference was held.
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Date: January 28, 2020
                                       Respectfully Submitted,

                                       /s/ Patrick J. Martin
                                       Elizabeth M. Abood-Carroll, Esq. 569551
                                       Jason J. Giguere, Esq. 667662
                                       Matthew Dailey, Esq. 672242
                                       Patrick J. Martin, Esq. 669534
                                       Tatyana P. Tabachnik, Esq. 673236
                                       Orlans PC
                                       Attorneys for Select Portfolio Servicing, Inc
                                       PO Box 540540
                                       Waltham, MA 02454
                                       (781) 790-7800
                                       Email: bankruptcyNE@orlans.com
                                       File Number: 19-009144
